              Case 19-17000-ABA                   Doc 1      Filed 04/05/19 Entered 04/05/19 18:28:21                              Desc Main
                                                            Document      Page 1 of 54

Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEW JERSEY

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Formica Brothers, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  2310 Arctic Ave.                                                153 Glenside Ave.
                                  Atlantic City, NJ 08401                                         Linwood, NJ 08221
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Atlantic                                                        Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
              Case 19-17000-ABA                      Doc 1        Filed 04/05/19 Entered 04/05/19 18:28:21                                     Desc Main
                                                                 Document      Page 2 of 54
Debtor    Formica Brothers, LLC                                                                         Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                                  Case number
                                                  District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                     Relationship
                                                  District                                 When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
             Case 19-17000-ABA                   Doc 1        Filed 04/05/19 Entered 04/05/19 18:28:21                                 Desc Main
                                                             Document      Page 3 of 54
Debtor   Formica Brothers, LLC                                                                     Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
              Case 19-17000-ABA                  Doc 1       Filed 04/05/19 Entered 04/05/19 18:28:21                                Desc Main
                                                            Document      Page 4 of 54
Debtor    Formica Brothers, LLC                                                                    Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      April 5, 2019
                                                  MM / DD / YYYY


                             X   /s/ Frank Formica                                                        Frank Formica
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   CEO




18. Signature of attorney    X   /s/ Ellen M. McDowell, Esq.                                               Date April 5, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Ellen M. McDowell, Esq.
                                 Printed name

                                 McDowell Law, PC
                                 Firm name

                                 46 West Main St.
                                 Maple Shade, NJ 08052
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     856-482-5544                  Email address


                                 - State Bar#XXX-XX-XXXX NJ
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
            Case 19-17000-ABA                          Doc 1          Filed 04/05/19 Entered 04/05/19 18:28:21                  Desc Main
                                                                     Document      Page 5 of 54




 Fill in this information to identify the case:

 Debtor name         Formica Brothers, LLC

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          April 5, 2019                           X /s/ Frank Formica
                                                                       Signature of individual signing on behalf of debtor

                                                                       Frank Formica
                                                                       Printed name

                                                                       CEO
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
             Case 19-17000-ABA                                    Doc 1              Filed 04/05/19 Entered 04/05/19 18:28:21                                                          Desc Main
                                                                                    Document      Page 6 of 54
 Fill in this information to identify the case:

 Debtor name            Formica Brothers, LLC

 United States Bankruptcy Court for the:                       DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           675,416.74

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           675,416.74


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        2,977,112.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        2,763,324.01


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           5,740,436.01




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
            Case 19-17000-ABA                          Doc 1          Filed 04/05/19 Entered 04/05/19 18:28:21                         Desc Main
                                                                     Document      Page 7 of 54
 Fill in this information to identify the case:

 Debtor name         Formica Brothers, LLC

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Ocean First                                             checking                        3039                                         $54.74




           3.2.     TD Bank                                                 savings                                                                          $0.00




           3.3.     Parke Bank                                              checking                                                                         $0.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                          $54.74
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
            Case 19-17000-ABA                          Doc 1          Filed 04/05/19 Entered 04/05/19 18:28:21                     Desc Main
                                                                     Document      Page 8 of 54
 Debtor         Formica Brothers, LLC                                                             Case number (If known)
                Name


        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                            598,737.00   -                                   0.00 = ....                $598,737.00
                                              face amount                           doubtful or uncollectible accounts




 12.       Total of Part 3.                                                                                                             $598,737.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                   Net book value of         Valuation method used   Current value of
                                                                                 debtor's interest         for current value       debtor's interest
                                                                                 (Where available)

 39.       Office furniture
           desks, chairs, etc.                                                                  $0.00                                          $1,000.00



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           computers, telephone system                                                          $0.00                                          $5,000.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                                   $6,000.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
            Case 19-17000-ABA                          Doc 1          Filed 04/05/19 Entered 04/05/19 18:28:21               Desc Main
                                                                     Document      Page 9 of 54
 Debtor         Formica Brothers, LLC                                                         Case number (If known)
                Name


               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     1999 Ford E-350 Box Truck                                              $0.00                                          $425.00


           47.2.     2003 Honda Element                                                     $0.00                                          $200.00


           47.3.     2006 Ford E350 Van                                                     $0.00                                          $200.00


           47.4.     2006 Isuzu Box Truck                                                   $0.00                                        $5,000.00


           47.5.     2007 Chevy Van                                                         $0.00                                          $600.00


           47.6.     2009 Chevy Van                                                         $0.00                                          $800.00


           47.7.     2010 Ford Transit rabbit                                               $0.00                                          $675.00


           47.8.     2010 Ford E-350 Van                                                    $0.00                                          $500.00


           47.9.     2011 Chevy Box Truck                                                   $0.00                                          $325.00



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           various bakery equipment - ovens, mixers,
           dough dividers, walk-in box, freezer                                             $0.00                                      $61,900.00




 51.       Total of Part 8.                                                                                                        $70,625.00
           Add lines 47 through 50. Copy the total to line 87.


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 3
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            Case 19-17000-ABA                          Doc 1          Filed 04/05/19 Entered 04/05/19 18:28:21        Desc Main
                                                                     Document      Page 10 of 54
 Debtor         Formica Brothers, LLC                                                        Case number (If known)
                Name

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                       page 4
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
             Case 19-17000-ABA                             Doc 1          Filed 04/05/19 Entered 04/05/19 18:28:21                                         Desc Main
                                                                         Document      Page 11 of 54
 Debtor          Formica Brothers, LLC                                                                               Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                   $54.74

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $598,737.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                            $6,000.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $70,625.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                            $675,416.74           + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $675,416.74




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 5
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            Case 19-17000-ABA                          Doc 1          Filed 04/05/19 Entered 04/05/19 18:28:21                                Desc Main
                                                                     Document      Page 12 of 54
 Fill in this information to identify the case:

 Debtor name         Formica Brothers, LLC

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   ABCO                                           Describe debtor's property that is subject to a lien                   $25,238.00                      $0.00
       Creditor's Name                                truck
       621 Beverley Rancocas Rd.
       Rancocas, NJ 08073
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   Ally Financial                                 Describe debtor's property that is subject to a lien                   $31,326.00                      $0.00
       Creditor's Name                                truck
       PO Box 9001951
       Louisville, KY 40290
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 4
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            Case 19-17000-ABA                          Doc 1          Filed 04/05/19 Entered 04/05/19 18:28:21                               Desc Main
                                                                     Document      Page 13 of 54
 Debtor       Formica Brothers, LLC                                                                    Case number (if know)
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.3   Fulton Bank                                    Describe debtor's property that is subject to a lien                      $40,700.00              $0.00
       Creditor's Name                                inventory, A/R, equipment, general
                                                      intangibles, etc.
       PO Box 25091
       Lehigh Valley, PA 18002
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.4   NJ EDA                                         Describe debtor's property that is subject to a lien                 $2,095,216.00                $0.00
       Creditor's Name                                inventory, equipment, accounts receivable,
                                                      general intangibles
       PO Box 990
       Trenton, NJ 08625
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.5   Ocean First Bank                               Describe debtor's property that is subject to a lien                     $148,626.00              $0.00
       Creditor's Name                                leasehold mortgage
       975 Hooper Ave.
       Toms River, NJ 08753
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 2 of 4
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            Case 19-17000-ABA                          Doc 1          Filed 04/05/19 Entered 04/05/19 18:28:21                               Desc Main
                                                                     Document      Page 14 of 54
 Debtor       Formica Brothers, LLC                                                                    Case number (if know)
              Name

       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.6   Parke Bank                                     Describe debtor's property that is subject to a lien                     $180,000.00              $0.00
       Creditor's Name                                accounts receivable
       601 Delsea Drive
       Sewell, NJ 08080
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       Pleasantville Urban
 2.7                                                                                                                           $219,027.00              $0.00
       Enterprise Zone                                Describe debtor's property that is subject to a lien
       Creditor's Name                                inventory, equipment, A/R
       18 N. First St.
       Pleasantville, NJ 08232
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.8   Sun Bank                                       Describe debtor's property that is subject to a lien                     $236,979.00              $0.00




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 3 of 4
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            Case 19-17000-ABA                          Doc 1          Filed 04/05/19 Entered 04/05/19 18:28:21                                Desc Main
                                                                     Document      Page 15 of 54
 Debtor       Formica Brothers, LLC                                                                    Case number (if know)
              Name

       Creditor's Name                                leasehold mortgage



       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



                                                                                                                               $2,977,112.0
 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                          0

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 4 of 4
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             Case 19-17000-ABA                         Doc 1          Filed 04/05/19 Entered 04/05/19 18:28:21                                     Desc Main
                                                                     Document      Page 16 of 54
 Fill in this information to identify the case:

 Debtor name         Formica Brothers, LLC

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $436.00
           ACMUA                                                                Contingent
           401 N. Virginia Ave                                                  Unliquidated
           PO Box 117                                                           Disputed
           Atlantic City, NJ 08404-0117
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes


 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                         $0.00
           ADP                                                                  Contingent
           1851 N. Resler Drive                                                 Unliquidated
           El Paso, TX 79912                                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $121.00
           AFLAC                                                                Contingent
           1932 Wynton Road                                                     Unliquidated
           Columbus, GA 31999-0797                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $77.00
           AFLAC NY                                                             Contingent
           1932 Wynnton Road                                                    Unliquidated
           Columbus, GA 31999-0797                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 1 of 14
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            Case 19-17000-ABA                          Doc 1          Filed 04/05/19 Entered 04/05/19 18:28:21                                     Desc Main
                                                                     Document      Page 17 of 54
 Debtor       Formica Brothers, LLC                                                                   Case number (if known)
              Name

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $298.00
          AFS Technologies                                                      Contingent
          PO Box 53573                                                          Unliquidated
          Phoenix, AZ 85072-3573                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $24.00
          AIM Atlantic City                                                     Contingent
          PO Box 786061                                                         Unliquidated
          Philadelphia, PA 19178-6061                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,149.00
          All Bake Technologies                                                 Contingent
          1930 Heck Ave.                                                        Unliquidated
          Bldg. 1 Suite 4                                                       Disputed
          Neptune, NJ 07753
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $570.00
          All Brite Company                                                     Contingent
          PO Box 3275                                                           Unliquidated
          Pittston, PA 18643                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Ally                                                                  Contingent
          PO Box 380902                                                         Unliquidated
          Minneapolis, MN 55438-0902                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,187.00
          American Express                                                      Contingent
          PO Box 1270                                                           Unliquidated
          Newark, NJ 07101-1270                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $13,257.00
          American Express                                                      Contingent
          PO Box 1270                                                           Unliquidated
          Newark, NJ 07101-1270                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 2 of 14
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            Case 19-17000-ABA                          Doc 1          Filed 04/05/19 Entered 04/05/19 18:28:21                                     Desc Main
                                                                     Document      Page 18 of 54
 Debtor       Formica Brothers, LLC                                                                   Case number (if known)
              Name

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $16,689.00
          Amtrust                                                               Contingent
          PO Box 5849                                                           Unliquidated
          Cleveland, OH 44101-1939                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Arctic Auto Repair                                                    Contingent
          2417 Artic Avenue                                                     Unliquidated
          Atlantic City, NJ 08401                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $450.00
          Arthur W. Ponzio                                                      Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,194.00
          Atlantic City Electric                                                Contingent
          PO Box 13610                                                          Unliquidated
          Philadelphia, PA 19101                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $39.00
          Atlantic Emergency Assoc
                                                                                Contingent
          6880 W Snowville Rd.                                                  Unliquidated
          Suite 210                                                             Disputed
          Brecksville, OH 44141
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Atlantic Emergency Assoc                                              Contingent
          6880 W. Snowville Rd                                                  Unliquidated
          Suite 210                                                             Disputed
          Brecksville, OH 44141
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $43.01
          Atlantic Pulmonary Critical Care                                      Contingent
          741 S. Second Ave                                                     Unliquidated
          Suite A                                                               Disputed
          Galloway, NJ 08205
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 3 of 14
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            Case 19-17000-ABA                          Doc 1          Filed 04/05/19 Entered 04/05/19 18:28:21                                     Desc Main
                                                                     Document      Page 19 of 54
 Debtor       Formica Brothers, LLC                                                                   Case number (if known)
              Name

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $10.00
          Atlantic Radiologists Professional Assoc                              Contingent
          PO Box 1262                                                           Unliquidated
          Indianapolis, IN 46206-1262                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $55.00
          Atlanticare Physician Group                                           Contingent
          PO Box 786061                                                         Unliquidated
          Philadelphia, PA 19178                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $322,450.00
          Baker Boys LLC                                                        Contingent
          900 Mill Road                                                         Unliquidated
          Pleasantville, NJ 08232                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $13.00
          BB&T Bank                                                             Contingent
          Attn: Bankrutcy Dept.                                                 Unliquidated
          200 West Second Street                                                Disputed
          Winston Salem, NC 27101
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,543.00
          Camden Bag & Paper Co.                                                Contingent
          200 Connecticut Drive                                                 Unliquidated
          Burlington, NJ 08016                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $19,700.00
          Capaldi Reynolds & Pelosi, PA                                         Contingent
          332 Tilton Road                                                       Unliquidated
          Northfield, NJ 08225                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Capp Inc.                                                             Contingent
          PO Box 127                                                            Unliquidated
          Clifton Heights, PA 19018-0127                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 4 of 14
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            Case 19-17000-ABA                          Doc 1          Filed 04/05/19 Entered 04/05/19 18:28:21                                     Desc Main
                                                                     Document      Page 20 of 54
 Debtor       Formica Brothers, LLC                                                                   Case number (if known)
              Name

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $35,209.00
          Chase Bank N.A.                                                       Contingent
          200 White Clay Center Drive                                           Unliquidated
          Newark, DE 19711                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,248.00
          Cirignano Contracting, Inc.                                           Contingent
          750 West California Ave                                               Unliquidated
          Absecon, NJ 08201                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $900.00
          City of Atlantic City                                                 Contingent
          1301 Bacharach Blvd.                                                  Unliquidated
          Atlantic City, NJ 08401                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          City of Atlantic City                                                 Contingent
          1301 Bacharach Blvd.                                                  Unliquidated
          Suite 126                                                             Disputed
          Atlantic City, NJ 08401
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $99.00
          Comcast                                                               Contingent
          PO Box 3006                                                           Unliquidated
          Southeastern, PA 19398-3006                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $149.00
          Community Surgical Supply Tom River Inc.                              Contingent
          PO Box 4686                                                           Unliquidated
          Toms River, NJ 08754                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $13,698.00
          Cooper Levenson                                                       Contingent
          1125 Atlantic Ave                                                     Unliquidated
          Atlantic City, NJ 08401                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 5 of 14
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            Case 19-17000-ABA                          Doc 1          Filed 04/05/19 Entered 04/05/19 18:28:21                                     Desc Main
                                                                     Document      Page 21 of 54
 Debtor       Formica Brothers, LLC                                                                   Case number (if known)
              Name

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $240.00
          Court House Towing                                                    Contingent
          2403 Route 9 South                                                    Unliquidated
          Rio Grande, NJ 08242                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $985.00
          CRDA Special Improvement District                                     Contingent
          15 S. Pennsylvania Ave.                                               Unliquidated
          Atlantic City, NJ 08401                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $106.00
          Cruzan's                                                              Contingent
          564 W. Leeds Ave.                                                     Unliquidated
          Absecon, NJ 08201                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,696.00
          Cruzans Freightliner                                                  Contingent
          564 W. Leeds Ave.                                                     Unliquidated
          Absecon, NJ 08201                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          DiBruno Brothers Inc.                                                 Contingent
          2514 Morris Street                                                    Unliquidated
          Philadelphia, PA 19145                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,000.00
          Erika Record, LLC                                                     Contingent
          37 Atlantic Way                                                       Unliquidated
          Clifton, NJ 07012-1142                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $315.00
          Exceptional Medical Transportation                                    Contingent
          301 Allied Pkwy                                                       Unliquidated
          West Berlin, NJ 08091                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 6 of 14
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            Case 19-17000-ABA                          Doc 1          Filed 04/05/19 Entered 04/05/19 18:28:21                                     Desc Main
                                                                     Document      Page 22 of 54
 Debtor       Formica Brothers, LLC                                                                   Case number (if known)
              Name

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $545.00
          Formica Brother Bakery                                                Contingent
          2310 Arctic Ave.                                                      Unliquidated
          Atlantic City, NJ 08401                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $26,397.00
          Fox Rothchild                                                         Contingent
          1301 Atlantic Ave                                                     Unliquidated
          Suite 400                                                             Disputed
          Atlantic City, NJ 08401
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $733.00
          Fox Rothchild                                                         Contingent
          1301 Atlantic Ave.                                                    Unliquidated
          Suite 400                                                             Disputed
          Atlantic City, NJ 08401
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Francis Carpinelli                                                    Contingent
          654 East Lakefront Circile
                                                                                Unliquidated
          Galloway, NJ 08205
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number       8617                         Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $206.00
          Fulton Bank                                                           Contingent
          PO Box 69                                                             Unliquidated
          East Petersburg, PA 17520                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $41,296.00
          Fulton Bank                                                           Contingent
          PO Box 69                                                             Unliquidated
          East Petersburg, PA 17520                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $450.00
          Gerstein Grayson Cohen                                                Contingent
          1288 Route 73 South                                                   Unliquidated
          Suite 301                                                             Disputed
          Mount Laurel, NJ 08054
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 7 of 14
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            Case 19-17000-ABA                          Doc 1          Filed 04/05/19 Entered 04/05/19 18:28:21                                     Desc Main
                                                                     Document      Page 23 of 54
 Debtor       Formica Brothers, LLC                                                                   Case number (if known)
              Name

 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          GIGI Provisions                                                       Contingent
          76 Cape May Ave.                                                      Unliquidated
          Dorothy, NJ 08317                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,445.00
          Ginsburg Bakery                                                       Contingent
          151 Benigino Blvd.                                                    Unliquidated
          Bellmawr, NJ 08031                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $118.00
          Grainger                                                              Contingent
          Dept 818197964                                                        Unliquidated
          Palatine, IL 60038-0001                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $327.00
          Greater Atlantic City Chamber                                         Contingent
          12 S. Virginia Ave.                                                   Unliquidated
          Atlantic City, NJ 08401                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,714.00
          Hank N. Rovillard, Esquire                                            Contingent
          310 N. Brighton Ave.                                                  Unliquidated
          Atlantic City, NJ 08401                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $994.00
          Home Depot                                                            Contingent
          PO Box 9001010                                                        Unliquidated
          Louisville, KY 40290-1010                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,000.00
          JBS Production                                                        Contingent
          605 5th Street                                                        Unliquidated
          Somers Point, NJ 08244                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 8 of 14
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            Case 19-17000-ABA                          Doc 1          Filed 04/05/19 Entered 04/05/19 18:28:21                                     Desc Main
                                                                     Document      Page 24 of 54
 Debtor       Formica Brothers, LLC                                                                   Case number (if known)
              Name

 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $93,700.00
          John Galt                                                             Contingent
          2310 Arctic Ave.                                                      Unliquidated
          Atlantic City, NJ 08401                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Kelly Products                                                        Contingent
          1147 Route 9 South                                                    Unliquidated
          Cape May Court House, NJ 08210                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,500.00
          Kevin Corcoran Real Estate                                            Contingent
          4311 Ventnor Ave.                                                     Unliquidated
          Atlantic City, NJ 08401                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $599.00
          Lentz Milling Co.                                                     Contingent
          PO Box 13159                                                          Unliquidated
          Reading, PA 19612-3159                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,580.00
          Longport Media LLC                                                    Contingent
          1601 New Road                                                         Unliquidated
          Linwood, NJ 08221                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $80.00
          MBCA                                                                  Contingent
          1616 Pacific Ave.                                                     Unliquidated
          6th Floor                                                             Disputed
          Atlantic City, NJ 08401
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,000.00
          NJ Dept of Health & Senior Services                                   Contingent
          PO Box 360                                                            Unliquidated
          Trenton, NJ 08625-0360                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 9 of 14
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            Case 19-17000-ABA                          Doc 1          Filed 04/05/19 Entered 04/05/19 18:28:21                                     Desc Main
                                                                     Document      Page 25 of 54
 Debtor       Formica Brothers, LLC                                                                   Case number (if known)
              Name

 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $2,084,173.00
          NJEDA                                                                 Contingent
          PO Box 990                                                            Unliquidated
          Trenton, NJ 08625                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,975.00
          Ocean Constrruction                                                   Contingent
          215 Route 9 South                                                     Unliquidated
          PO Box 4                                                              Disputed
          Marmora, NJ 08223
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $573.00
          Parke Bank                                                            Contingent
          601 Delsea Drive                                                      Unliquidated
          Sewell, NJ 08080                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,296.00
          Parke Bank                                                            Contingent
          601 Delsea Drive                                                      Unliquidated
          Sewell, NJ 08080                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $234.00
          Paychex Human Resources                                               Contingent
          PO Box 29769                                                          Unliquidated
          New York, NY 10087                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,421.00
          Paychex of New York LLC                                               Contingent
          PO Box 29769                                                          Unliquidated
          New York, NY 10087                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $10.00
          Personal Concepts                                                     Contingent
          PO Box 3353                                                           Unliquidated
          San Dimas, CA 91773-7353                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 10 of 14
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            Case 19-17000-ABA                          Doc 1          Filed 04/05/19 Entered 04/05/19 18:28:21                                     Desc Main
                                                                     Document      Page 26 of 54
 Debtor       Formica Brothers, LLC                                                                   Case number (if known)
              Name

 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Philly Pretzel Factory                                                Contingent
          6814 Tilton Road                                                      Unliquidated
          Egg Harbor Township, NJ 08234                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $425.00
          Pig Farm Recycling Inc.                                               Contingent
          2 Big Hill Rd.                                                        Unliquidated
          Southampton, NJ 08088                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,530.00
          Puratos Bakery Supply                                                 Contingent
          Lockbox 9572                                                          Unliquidated
          PO Box 8500                                                           Disputed
          Philadelphia, PA 19178-9572
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,518.00
          Quality Truck Center                                                  Contingent
          PO Box 511                                                            Unliquidated
          Absecon, NJ 08201                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $544.00
          Regional Nephrology Assoc, PA                                         Contingent
          510 Jackson Ave.                                                      Unliquidated
          Northfield, NJ 08225                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,894.00
          Scott N. Silver PC                                                    Contingent
          524 Maple Ave.                                                        Unliquidated
          Linwood, NJ 08221                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $384.00
          Sherman Williams                                                      Contingent
          410 N. Tilton Road                                                    Unliquidated
          Northfield, NJ 08225                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 11 of 14
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            Case 19-17000-ABA                          Doc 1          Filed 04/05/19 Entered 04/05/19 18:28:21                                     Desc Main
                                                                     Document      Page 27 of 54
 Debtor       Formica Brothers, LLC                                                                   Case number (if known)
              Name

 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $15,157.00
          SOHS Architects                                                       Contingent
          1020 Atlantic Ave.                                                    Unliquidated
          Atlantic City, NJ 08401                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $387.00
          Soltz Paint, Inc.                                                     Contingent
          2517 Atlantic Ave.                                                    Unliquidated
          Atlantic City, NJ 08401                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,736.00
          South Jersey Gas                                                      Contingent
          PO Box 6091                                                           Unliquidated
          Bellmawr, NJ 08099-6091                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $333.00
          Staples                                                               Contingent
          PO Box 78004                                                          Unliquidated
          Phoenix, AZ 85062-8004                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $125.00
          Sureline Services                                                     Contingent
          242 Risa Avenue                                                       Unliquidated
          Newfield, NJ 08344                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          To ADJ                                                                Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,470.00
          Townsquare Media                                                      Contingent
          PO Box 28055                                                          Unliquidated
          New York, NY 10087-8055                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 12 of 14
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            Case 19-17000-ABA                          Doc 1          Filed 04/05/19 Entered 04/05/19 18:28:21                                     Desc Main
                                                                     Document      Page 28 of 54
 Debtor       Formica Brothers, LLC                                                                   Case number (if known)
              Name

 3.82      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $50.00
           US Department of Education                                           Contingent
           PO Box 530260                                                        Unliquidated
           Atlanta, GA 30353-0260                                               Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?        No      Yes

 3.83      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $344.00
           Verizon                                                              Contingent
           PO Box 4833                                                          Unliquidated
           Trenton, NJ 08650-4833                                               Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?        No      Yes

 3.84      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $1,116.00
           Verizon Connect                                                      Contingent
           1100 Winter St.                                                      Unliquidated
           Suite 4600                                                           Disputed
           Waltham, MA 02451
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?        No      Yes


 3.85      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                      $0.00
           Vina Auto Service, Inc.                                              Contingent
           2401                                                                 Unliquidated
           Arctic Ave.                                                          Disputed
           Atlantic City, NJ 08401
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?        No      Yes


 3.86      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $1,995.00
           WB Mason Co. Inc.                                                    Contingent
           PO Box 111                                                           Unliquidated
           Brockton, MA 02303-0111                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?        No      Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                      related creditor (if any) listed?              account number, if
                                                                                                                                                     any
 4.1       Larry Bendesky, Esquire
           8000 Sagemore Drive                                                                        Line     3.43
           Suite 8303
                                                                                                             Not listed. Explain
           Marlton, NJ 08053


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                          Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.          $                           0.00
 5b. Total claims from Part 2                                                                            5b.    +     $                   2,763,324.01


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 13 of 14
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            Case 19-17000-ABA                          Doc 1          Filed 04/05/19 Entered 04/05/19 18:28:21                   Desc Main
                                                                     Document      Page 29 of 54
 Debtor       Formica Brothers, LLC                                                               Case number (if known)
              Name


 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.     $              2,763,324.01




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                Page 14 of 14
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            Case 19-17000-ABA                          Doc 1          Filed 04/05/19 Entered 04/05/19 18:28:21                     Desc Main
                                                                     Document      Page 30 of 54
 Fill in this information to identify the case:

 Debtor name         Formica Brothers, LLC

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1.        State what the contract or                   2015 Ford Transit -
             lease is for and the nature of               vehicle lease
             the debtor's interest

                  State the term remaining
                                                                                     ABCO
             List the contract number of any                                         PO Box 247
                   government contract                                               Rancocas, NJ 08073


 2.2.        State what the contract or                   2007 Chevrolet Van -
             lease is for and the nature of               vehicle lease
             the debtor's interest

                  State the term remaining
                                                                                     ABCO
             List the contract number of any                                         PO Box 247
                   government contract                                               Rancocas, NJ 08073


 2.3.        State what the contract or                   2015 Ford Transit -
             lease is for and the nature of               vehicle lease
             the debtor's interest

                  State the term remaining
                                                                                     Ally
             List the contract number of any                                         PO Box 380902
                   government contract                                               Bloomington, MN 55438


 2.4.        State what the contract or                   2 copier leases
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     De Lage Landen
             List the contract number of any                                         PO Box 41602
                   government contract                                               Philadelphia, PA 19101




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 2
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            Case 19-17000-ABA                          Doc 1          Filed 04/05/19 Entered 04/05/19 18:28:21             Desc Main
                                                                     Document      Page 31 of 54
 Debtor 1 Formica Brothers, LLC                                                              Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.5.        State what the contract or                   equipment lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     The World Famous AC Bread Bakery, LLC
             List the contract number of any                                         1301 Bremen Ave.
                   government contract                                               Egg Harbor City, NJ 08215


 2.6.        State what the contract or                   lease for generator
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           Wells Fargo Financial Bank
                                                                                     300 Tri-State International
             List the contract number of any                                         Suite 400
                   government contract                                               Lincolnshire, IL 60069




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                    Page 2 of 2
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            Case 19-17000-ABA                          Doc 1          Filed 04/05/19 Entered 04/05/19 18:28:21                 Desc Main
                                                                     Document      Page 32 of 54
 Fill in this information to identify the case:

 Debtor name         Formica Brothers, LLC

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                    Name                           Check all schedules
                                                                                                                                 that apply:

    2.1      Baker Boys, LLC                   153 Glenside Ave.                                  Parke Bank                        D
                                               Linwood, NJ 08221                                                                    E/F
                                                                                                                                    G




    2.2      Don Cheech, LLC                   153 Glenside Ave.                                  Parke Bank                        D
                                               Linwood, NJ 08221                                                                    E/F
                                                                                                                                    G




    2.3      Frank Formica                     153 Glenside                                       NJ EDA                            D
                                               Linwood, NJ 08221                                                                    E/F
                                                                                                                                    G




    2.4      Frank Formica                                                                        Ocean First Bank                  D
                                                                                                                                    E/F
                                                                                                                                    G




    2.5      Frank Formica                                                                        Fulton Bank                       D
                                                                                                                                    E/F
                                                                                                                                    G




Official Form 206H                                                            Schedule H: Your Codebtors                                      Page 1 of 2
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            Case 19-17000-ABA                          Doc 1          Filed 04/05/19 Entered 04/05/19 18:28:21        Desc Main
                                                                     Document      Page 33 of 54
 Debtor       Formica Brothers, LLC                                                          Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.6      Frank Formica                                                                        Parke Bank                D
                                                                                                                            E/F
                                                                                                                            G




    2.7      John Galt, LLC                    153 Glenside Ave.                                  Ocean First Bank          D
                                               Linwood, NJ 08221                                                            E/F
                                                                                                                            G




    2.8      John Galt, LLC                                                                       Fulton Bank               D
                                                                                                                            E/F
                                                                                                                            G




    2.9      John Galt, LLC                                                                       Parke Bank                D
                                                                                                                            E/F
                                                                                                                            G




Official Form 206H                                                            Schedule H: Your Codebtors                              Page 2 of 2
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            Case 19-17000-ABA                          Doc 1          Filed 04/05/19 Entered 04/05/19 18:28:21                             Desc Main
                                                                     Document      Page 34 of 54



 Fill in this information to identify the case:

 Debtor name         Formica Brothers, LLC

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                               $304,851.00
       From 1/01/2019 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                             $1,219,418.00
       From 1/01/2018 to 12/31/2018
                                                                                                   Other


       For year before that:                                                                       Operating a business                             $1,294,418.00
       From 1/01/2017 to 12/31/2017
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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              Case 19-17000-ABA                        Doc 1          Filed 04/05/19 Entered 04/05/19 18:28:21                                   Desc Main
                                                                     Document      Page 35 of 54
 Debtor       Formica Brothers, LLC                                                                     Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               Capaldi Reynolds                                            1/28/19                         $100,000.00                Secured debt
               332 Tilton Rd.                                                                                                         Unsecured loan repayments
               Northfield, NJ 08225                                                                                                   Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other


       3.2.
               ADM                                                         1/31/19                          $11,911.00                Secured debt
               911 Spangler Rd.                                                                                                       Unsecured loan repayments
               Camp Hill, PA 17011
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other


       3.3.
               ADM                                                         2/22/19                          $22,296.00                Secured debt
                                                                                                                                      Unsecured loan repayments
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other


       3.4.
               ADM                                                         3/7/19                           $10,702.00                Secured debt
                                                                                                                                      Unsecured loan repayments
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                   Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                   Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 2
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              Case 19-17000-ABA                        Doc 1          Filed 04/05/19 Entered 04/05/19 18:28:21                                Desc Main
                                                                     Document      Page 36 of 54
 Debtor       Formica Brothers, LLC                                                                         Case number (if known)



7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case               Court or agency's name and             Status of case
               Case number                                                                    address
       7.1.    Francis Carpinelli v. WP                                                       New Jersey Superior Court                   Pending
               Bakery Group USA, et al                                                        Atlantic County Civil Courts                On appeal
               Docket No. L-2386-17                                                           Building
                                                                                                                                          Concluded
                                                                                              1201 Bacharach Blvd.
                                                                                              Atlantic City, NJ 08401


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions                  Dates given                            Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss             Value of property
       how the loss occurred                                                                                                                                       lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        page 3
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            Case 19-17000-ABA                          Doc 1          Filed 04/05/19 Entered 04/05/19 18:28:21                             Desc Main
                                                                     Document      Page 37 of 54
 Debtor        Formica Brothers, LLC                                                                     Case number (if known)



                 Who was paid or who received                        If not money, describe any property transferred           Dates              Total amount or
                 the transfer?                                                                                                                             value
                 Address
       11.1.     McDowell Law, PC
                 46 West Main St.
                 Maple Shade, NJ 08052                                                                                                                  $2,500.00

                 Email or website address


                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers             Total amount or
                                                                                                                      were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                            Description of property transferred or                  Date transfer            Total amount or
               Address                                           payments received or debts paid in exchange             was made                          value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                       Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 4
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            Case 19-17000-ABA                          Doc 1          Filed 04/05/19 Entered 04/05/19 18:28:21                           Desc Main
                                                                     Document      Page 38 of 54
 Debtor      Formica Brothers, LLC                                                                      Case number (if known)




17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                     Last 4 digits of         Type of account or          Date account was           Last balance
              Address                                            account number           instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                        Names of anyone with                Description of the contents          Do you still
                                                                      access to it                                                             have it?
                                                                      Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                      Names of anyone with                Description of the contents          Do you still
                                                                      access to it                                                             have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 5
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            Case 19-17000-ABA                          Doc 1          Filed 04/05/19 Entered 04/05/19 18:28:21                                 Desc Main
                                                                     Document      Page 39 of 54
 Debtor      Formica Brothers, LLC                                                                      Case number (if known)




            No.
            Yes. Provide details below.

       Case title                                                     Court or agency name and            Nature of the case                            Status of case
       Case number                                                    address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Capaldi Reynolds and Pelosi, PA
                    332 Tilton Rd.
                    Northfield, NJ 08225

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 6
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            Case 19-17000-ABA                          Doc 1          Filed 04/05/19 Entered 04/05/19 18:28:21                           Desc Main
                                                                     Document      Page 40 of 54
 Debtor      Formica Brothers, LLC                                                                      Case number (if known)



       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Frank Formica                                  153 Glenside Ave.                                   CEO, owner                            100
                                                      Linwood, NJ 08221



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates              Reason for
                                                                 property                                                                   providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 7
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            Case 19-17000-ABA                          Doc 1          Filed 04/05/19 Entered 04/05/19 18:28:21                   Desc Main
                                                                     Document      Page 41 of 54
 Debtor      Formica Brothers, LLC                                                                      Case number (if known)



 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         April 5, 2019

 /s/ Frank Formica                                                       Frank Formica
 Signature of individual signing on behalf of the debtor                 Printed name

 Position or relationship to debtor         CEO

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                         page 8
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            Case 19-17000-ABA                          Doc 1          Filed 04/05/19 Entered 04/05/19 18:28:21                      Desc Main
                                                                     Document      Page 42 of 54
B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                         District of New Jersey
 In re       Formica Brothers, LLC                                                                            Case No.
                                                                                  Debtor(s)                   Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     2,500.00
             Prior to the filing of this statement I have received                                        $                     2,500.00
             Balance Due                                                                                  $                         0.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a. [Other provisions as needed]
               Services included under Chapter 7 Fee Agremeent. Available on request.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Services not included under Chapter 7 Fee Agreement. Available on request.
                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     April 5, 2019                                                                /s/ Ellen M. McDowell, Esq.
     Date                                                                         Ellen M. McDowell, Esq.
                                                                                  Signature of Attorney
                                                                                  McDowell Law, PC
                                                                                  46 West Main St.
                                                                                  Maple Shade, NJ 08052
                                                                                  856-482-5544 Fax: 856-482-5511
                                                                                  Name of law firm




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            Case 19-17000-ABA                          Doc 1          Filed 04/05/19 Entered 04/05/19 18:28:21      Desc Main
                                                                     Document      Page 43 of 54




                                                               United States Bankruptcy Court
                                                                         District of New Jersey
 In re      Formica Brothers, LLC                                                                  Case No.
                                                                                    Debtor(s)      Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


I, the CEO of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to the

best of my knowledge.




 Date:       April 5, 2019                                               /s/ Frank Formica
                                                                         Frank Formica/CEO
                                                                         Signer/Title




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    Case 19-17000-ABA   Doc 1    Filed 04/05/19 Entered 04/05/19 18:28:21   Desc Main
                                Document      Page 44 of 54


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                        ABCO
                        621 Beverley Rancocas Rd.
                        Rancocas, NJ 08073


                        ABCO
                        PO Box 247
                        Rancocas, NJ 08073


                        ACMUA
                        401 N. Virginia Ave
                        PO Box 117
                        Atlantic City, NJ 08404-0117


                        ADP
                        1851 N. Resler Drive
                        El Paso, TX 79912


                        AFLAC
                        1932 Wynton Road
                        Columbus, GA 31999-0797


                        AFLAC NY
                        1932 Wynnton Road
                        Columbus, GA 31999-0797


                        AFS Technologies
                        PO Box 53573
                        Phoenix, AZ 85072-3573


                        AIM Atlantic City
                        PO Box 786061
                        Philadelphia, PA 19178-6061


                        All Bake Technologies
                        1930 Heck Ave.
                        Bldg. 1 Suite 4
                        Neptune, NJ 07753


                        All Brite Company
                        PO Box 3275
                        Pittston, PA 18643


                        Ally
                        PO Box 380902
                        Minneapolis, MN 55438-0902
Case 19-17000-ABA   Doc 1    Filed 04/05/19 Entered 04/05/19 18:28:21   Desc Main
                            Document      Page 45 of 54



                    Ally
                    PO Box 380902
                    Bloomington, MN 55438


                    Ally Financial
                    PO Box 9001951
                    Louisville, KY 40290


                    American Express
                    PO Box 1270
                    Newark, NJ 07101-1270


                    Amtrust
                    PO Box 5849
                    Cleveland, OH 44101-1939


                    Arctic Auto Repair
                    2417 Artic Avenue
                    Atlantic City, NJ 08401


                    Arthur W. Ponzio



                    Atlantic City Electric
                    PO Box 13610
                    Philadelphia, PA 19101


                    Atlantic Emergency Assoc
                    6880 W Snowville Rd.
                    Suite 210
                    Brecksville, OH 44141


                    Atlantic Emergency Assoc
                    6880 W. Snowville Rd
                    Suite 210
                    Brecksville, OH 44141


                    Atlantic Pulmonary Critical Care
                    741 S. Second Ave
                    Suite A
                    Galloway, NJ 08205


                    Atlantic Radiologists Professional Assoc
                    PO Box 1262
                    Indianapolis, IN 46206-1262
Case 19-17000-ABA   Doc 1    Filed 04/05/19 Entered 04/05/19 18:28:21   Desc Main
                            Document      Page 46 of 54



                    Atlanticare Physician Group
                    PO Box 786061
                    Philadelphia, PA 19178


                    Baker Boys LLC
                    900 Mill Road
                    Pleasantville, NJ 08232


                    Baker Boys, LLC
                    153 Glenside Ave.
                    Linwood, NJ 08221


                    BB&T Bank
                    Attn: Bankrutcy Dept.
                    200 West Second Street
                    Winston Salem, NC 27101


                    Camden Bag & Paper Co.
                    200 Connecticut Drive
                    Burlington, NJ 08016


                    Capaldi Reynolds & Pelosi, PA
                    332 Tilton Road
                    Northfield, NJ 08225


                    Capp Inc.
                    PO Box 127
                    Clifton Heights, PA 19018-0127


                    Chase Bank N.A.
                    200 White Clay Center Drive
                    Newark, DE 19711


                    Cirignano Contracting, Inc.
                    750 West California Ave
                    Absecon, NJ 08201


                    City of Atlantic City
                    1301 Bacharach Blvd.
                    Atlantic City, NJ 08401


                    City of Atlantic City
                    1301 Bacharach Blvd.
                    Suite 126
                    Atlantic City, NJ 08401
Case 19-17000-ABA   Doc 1    Filed 04/05/19 Entered 04/05/19 18:28:21   Desc Main
                            Document      Page 47 of 54



                    Comcast
                    PO Box 3006
                    Southeastern, PA 19398-3006


                    Community Surgical Supply Tom River Inc.
                    PO Box 4686
                    Toms River, NJ 08754


                    Cooper Levenson
                    1125 Atlantic Ave
                    Atlantic City, NJ 08401


                    Court House Towing
                    2403 Route 9 South
                    Rio Grande, NJ 08242


                    CRDA Special Improvement District
                    15 S. Pennsylvania Ave.
                    Atlantic City, NJ 08401


                    Cruzan's
                    564 W. Leeds Ave.
                    Absecon, NJ 08201


                    Cruzans Freightliner
                    564 W. Leeds Ave.
                    Absecon, NJ 08201


                    De Lage Landen
                    PO Box 41602
                    Philadelphia, PA 19101


                    DiBruno Brothers Inc.
                    2514 Morris Street
                    Philadelphia, PA 19145


                    Don Cheech, LLC
                    153 Glenside Ave.
                    Linwood, NJ 08221


                    Erika Record, LLC
                    37 Atlantic Way
                    Clifton, NJ 07012-1142
Case 19-17000-ABA   Doc 1    Filed 04/05/19 Entered 04/05/19 18:28:21   Desc Main
                            Document      Page 48 of 54



                    Exceptional Medical Transportation
                    301 Allied Pkwy
                    West Berlin, NJ 08091


                    Formica Brother Bakery
                    2310 Arctic Ave.
                    Atlantic City, NJ 08401


                    Fox Rothchild
                    1301 Atlantic Ave
                    Suite 400
                    Atlantic City, NJ 08401


                    Fox Rothchild
                    1301 Atlantic Ave.
                    Suite 400
                    Atlantic City, NJ 08401


                    Francis Carpinelli
                    654 East Lakefront Circile
                    Galloway, NJ 08205


                    Frank Formica
                    153 Glenside
                    Linwood, NJ 08221


                    Frank Formica



                    Fulton Bank
                    PO Box 25091
                    Lehigh Valley, PA 18002


                    Fulton Bank
                    PO Box 69
                    East Petersburg, PA 17520


                    Gerstein Grayson Cohen
                    1288 Route 73 South
                    Suite 301
                    Mount Laurel, NJ 08054


                    GIGI Provisions
                    76 Cape May Ave.
                    Dorothy, NJ 08317
Case 19-17000-ABA   Doc 1    Filed 04/05/19 Entered 04/05/19 18:28:21   Desc Main
                            Document      Page 49 of 54



                    Ginsburg Bakery
                    151 Benigino Blvd.
                    Bellmawr, NJ 08031


                    Grainger
                    Dept 818197964
                    Palatine, IL 60038-0001


                    Greater Atlantic City Chamber
                    12 S. Virginia Ave.
                    Atlantic City, NJ 08401


                    Hank N. Rovillard, Esquire
                    310 N. Brighton Ave.
                    Atlantic City, NJ 08401


                    Home Depot
                    PO Box 9001010
                    Louisville, KY 40290-1010


                    JBS Production
                    605 5th Street
                    Somers Point, NJ 08244


                    John Galt
                    2310 Arctic Ave.
                    Atlantic City, NJ 08401


                    John Galt, LLC
                    153 Glenside Ave.
                    Linwood, NJ 08221


                    John Galt, LLC



                    Kelly Products
                    1147 Route 9 South
                    Cape May Court House, NJ 08210


                    Kevin Corcoran Real Estate
                    4311 Ventnor Ave.
                    Atlantic City, NJ 08401
Case 19-17000-ABA   Doc 1    Filed 04/05/19 Entered 04/05/19 18:28:21   Desc Main
                            Document      Page 50 of 54



                    Larry Bendesky, Esquire
                    8000 Sagemore Drive
                    Suite 8303
                    Marlton, NJ 08053


                    Lentz Milling Co.
                    PO Box 13159
                    Reading, PA 19612-3159


                    Longport Media LLC
                    1601 New Road
                    Linwood, NJ 08221


                    MBCA
                    1616 Pacific Ave.
                    6th Floor
                    Atlantic City, NJ 08401


                    NJ Dept of Health & Senior Services
                    PO Box 360
                    Trenton, NJ 08625-0360


                    NJ EDA
                    PO Box 990
                    Trenton, NJ 08625


                    NJEDA
                    PO Box 990
                    Trenton, NJ 08625


                    Ocean Constrruction
                    215 Route 9 South
                    PO Box 4
                    Marmora, NJ 08223


                    Ocean First Bank
                    975 Hooper Ave.
                    Toms River, NJ 08753


                    Parke Bank
                    601 Delsea Drive
                    Sewell, NJ 08080
Case 19-17000-ABA   Doc 1    Filed 04/05/19 Entered 04/05/19 18:28:21   Desc Main
                            Document      Page 51 of 54



                    Paychex Human Resources
                    PO Box 29769
                    New York, NY 10087


                    Paychex of New York LLC
                    PO Box 29769
                    New York, NY 10087


                    Personal Concepts
                    PO Box 3353
                    San Dimas, CA 91773-7353


                    Philly Pretzel Factory
                    6814 Tilton Road
                    Egg Harbor Township, NJ 08234


                    Pig Farm Recycling Inc.
                    2 Big Hill Rd.
                    Southampton, NJ 08088


                    Pleasantville Urban Enterprise Zone
                    18 N. First St.
                    Pleasantville, NJ 08232


                    Puratos Bakery Supply
                    Lockbox 9572
                    PO Box 8500
                    Philadelphia, PA 19178-9572


                    Quality Truck Center
                    PO Box 511
                    Absecon, NJ 08201


                    Regional Nephrology Assoc, PA
                    510 Jackson Ave.
                    Northfield, NJ 08225


                    Scott N. Silver PC
                    524 Maple Ave.
                    Linwood, NJ 08221


                    Sherman Williams
                    410 N. Tilton Road
                    Northfield, NJ 08225
Case 19-17000-ABA   Doc 1    Filed 04/05/19 Entered 04/05/19 18:28:21   Desc Main
                            Document      Page 52 of 54



                    SOHS Architects
                    1020 Atlantic Ave.
                    Atlantic City, NJ 08401


                    Soltz Paint, Inc.
                    2517 Atlantic Ave.
                    Atlantic City, NJ 08401


                    South Jersey Gas
                    PO Box 6091
                    Bellmawr, NJ 08099-6091


                    Staples
                    PO Box 78004
                    Phoenix, AZ 85062-8004


                    Sun Bank



                    Sureline Services
                    242 Risa Avenue
                    Newfield, NJ 08344


                    The World Famous AC Bread Bakery, LLC
                    1301 Bremen Ave.
                    Egg Harbor City, NJ 08215


                    To ADJ



                    Townsquare Media
                    PO Box 28055
                    New York, NY 10087-8055


                    US Department of Education
                    PO Box 530260
                    Atlanta, GA 30353-0260


                    Verizon
                    PO Box 4833
                    Trenton, NJ 08650-4833
Case 19-17000-ABA   Doc 1    Filed 04/05/19 Entered 04/05/19 18:28:21   Desc Main
                            Document      Page 53 of 54



                    Verizon Connect
                    1100 Winter St.
                    Suite 4600
                    Waltham, MA 02451


                    Vina Auto Service, Inc.
                    2401
                     Arctic Ave.
                    Atlantic City, NJ 08401


                    WB Mason Co. Inc.
                    PO Box 111
                    Brockton, MA 02303-0111


                    Wells Fargo Financial Bank
                    300 Tri-State International
                    Suite 400
                    Lincolnshire, IL 60069
            Case 19-17000-ABA                          Doc 1          Filed 04/05/19 Entered 04/05/19 18:28:21            Desc Main
                                                                     Document      Page 54 of 54



                                                               United States Bankruptcy Court
                                                                         District of New Jersey
 In re      Formica Brothers, LLC                                                                          Case No.
                                                                                    Debtor(s)              Chapter    7




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Formica Brothers, LLC in the above captioned action, certifies that the following is
a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 Frank Formica
 153 Glenside Ave.
 Linwood, NJ 08221




    None [Check if applicable]




 April 5, 2019                                                         /s/ Ellen M. McDowell, Esq.
 Date                                                                  Ellen M. McDowell, Esq.
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for Formica Brothers, LLC
                                                                       McDowell Law, PC
                                                                       46 West Main St.
                                                                       Maple Shade, NJ 08052
                                                                       856-482-5544 Fax:856-482-5511




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